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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
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     Local Counsel for the Plan Administrator
                                                            Chapter 11
 In re:
                                                            Case No. 22-19361 (MBK)
 BLOCKFI INC., et al.,
                                                            (Jointly Administered under a Confirmed Plan2)
             Debtors.1
                                                            Docket Nos. 2349, 2374

                                                            Hearing Date: August 27, 2024 at 11:30 a.m. ET

              WIND-DOWN DEBTORS’ RESPONSE TO MATTHEW GORDON’S
            OBJECTION TO THE WIND-DOWN DEBTORS’ KYC/AML PROTOCOLS
             MOTION AND CROSS-MOTION DIRECTING IMMEDIATE PAYMENT


 1
        The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
        LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
        (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-Down
        Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
 2
        On October 3, 2023, the Court entered an order (the “Confirmation Order”) [Docket No. 1660] confirming the
        Third Amended Joint Chapter 11 Plan of BlockFi Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the
        Bankruptcy Code (Additional Technical Modifications) (the “Plan”) [Docket No. 1609].
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         BlockFi Inc., and its debtor affiliates (collectively, “BlockFi” or the “Wind-Down

 Debtors”), as managed by the Plan Administrator in the above-referenced Chapter 11 cases (the

 “Chapter 11 Cases”), hereby submit this Response (the “Response”) to Matthew Gordon’s

 Objection to the Wind-Down Debtors’ KYC/AML Protocols Motion and Cross-Motion Directing

 Immediate Payment (the “Objection” and “Cross-Motion” filed by the “Objector” and the Wind-

 Down Debtors’ motion, the “Motion”)3 [Docket Nos. 2374 and 2349, respectively]. In support of

 this Response, the Wind-Down Debtors respectfully state as follows:

                                     PRELIMINARY STATEMENT

         1.       The Wind-Down Debtors are seeking approval of a process to ensure compliance

 with applicable U.S. laws in the distribution of funds to customers pursuant to their confirmed Plan

 under the extraordinary circumstances presented here. While BlockFi may not be the first

 regulated financial institution to enter Chapter 11, it appears to be among the first to (a) enter

 Chapter 11 under emergency circumstances requiring the termination of the vast majority of staff,

 including their compliance team, but (b) thereafter recover sufficient funds to enable 100%

 recoveries to customers. The consequences of this exceptional fact pattern include that BlockFi

 has been required to re-build its compliance capabilities outside the ordinary course of business,

 on a truncated schedule, to ensure against the aiding and abetting of, for instance, money

 laundering activities.

         2.       The Objector raises certain understandable concerns with the aim of recovering his

 lost funds as swiftly as possible. The Wind-Down Debtors sympathize. They have spoken with

 the Objector in advance of this filing and believe the concerns raised therein have been or will be

 substantively resolved, if not withdrawn. Nevertheless, as of this writing, the Objection is


 3
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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 outstanding; moreover, the Wind-Down Debtors take this opportunity to address the Objector’s

 concerns in further explication of the requested relief and cause therefor.

            3.    As stated repeatedly, the Plan Administrator’s primary objective is to distribute

 BlockFi’s assets to customers to the maximum extent and as quickly as possible. The Wind-Down

 Debtors remain, however, subject to certain federal laws and regulations, including the Bank

 Secrecy Act, Anti-Terrorism Act, Unlawful Internet Gambling Enforcement Act of 2006, and child

 abuse statutes, that restrict the Wind-Down Debtors’ ability to freely distribute assets where there

 is a suspected KYC or AML issue.4 Anything less than full and conscientious compliance with

 these laws and regulations would risk the financial security of the Wind-Down Debtors, and

 impede the Wind-Down Debtors’ ability to make distributions to deserving customers. The Plan

 Administrator will not take such risks with customer money, to say nothing of the reputations and

 security of employees and professionals who have enabled extraordinary recoveries for customers

 to date.

            4.    Although, again, the Objector’s concerns regarding delay are understandable, the

 Plan Administrator is not starting from scratch. The Wind-Down Debtors managed to retain

 certain records concerning the Flagged Accounts, sufficient to indicate which accounts had

 previously been flagged by BlockFi’s compliance software, the nature of the flag, and in some

 cases, information concerning prior review by BlockFi’s compliance team. These records are

 helpful but do not, alone, ensure the Wind-Down Debtors’ compliance with applicable federal law.

 Rather, the Plan Administrator must investigate each flag to determine whether a distribution to




 4
     To this end, the Plan Administrator does not believe that the Plan ordered the Plan Administrator to disregard
     applicable federal law in making distributions. See Confirmation Order, § 115(ii).

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 that account violates applicable law (a process that the Plan Administrator has begun while the

 Motion is pending).

        5.      The Plan Administrator has proposed a conservative approach to strike an

 appropriate balance between compliance with federal law and fulfilling his charges to distribute

 assets to customers. In sum, the Motion provides that the Plan Administrator (in conjunction with

 BlockFi’s remaining qualified team) will review the available information and determine whether

 to clear each Flagged Account for distribution or provide the relevant Flagged Account holder

 and/or governmental authority notice and an opportunity to take appropriate action. The Plan

 Administrator believes the proposed notice procedures for frozen accounts provide adequate and

 efficient due process for customers and complies with applicable law.

        6.      The Objection highlights the need for the process set forth in the Motion. The

 Objector raises argument concerning the Bank Secrecy Act, asserting that it does not permit

 BlockFi to withhold distributions. The Objector raises a Cross-Motion for immediate payment of

 the balance of his account. However, as identified herein and in the Motion, the Bank Secrecy Act

 is not the only federal statute that impacts the Wind-Down Debtors’ ability to distribute assets on

 account of the Flagged Accounts (and, for the avoidance of doubt, nothing in the Plan or otherwise

 requires the Plan Administrator to make an immediate distribution to the Objector).

        7.      Following a factual review of BlockFi’s records, the Plan Administrator determined

 that the Objector had, through a series of transfers indicating an intent to obscure the origin of

 funds, transferred approximately $5,000 in cryptocurrency to their account from an internet

 gambling site that is prohibited from doing business in the United States. Payment transactions in

 connection with such restricted gambling activities are governed by the Unlawful Internet

 Gambling Enforcement Act of 2006 ("UIGEA"). As set forth below, the Plan Administrator



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 interprets the UIGEA to prohibit distribution of unlawful gambling receipts back to customer

 depositors, as such transactions may be interpreted as aiding and abetting unlawful gambling (and

 the activities sometimes associated therewith, such as money laundering and tax evasion).

        8.      As discussed herein, if this Court approves the Motion, the Wind-Down Debtors

 would issue a Freeze Notice concerning the portion of the Objector’s account believed linked to

 unlawful gambling. The Objector would have an opportunity to introduce evidence that the Wind-

 Down Debtors are incorrect in their accounting of the source of funds, or argue for an alternative

 interpretation of the UIGEA. If the Objector is correct, the Wind-Down Debtors would issue a

 distribution. The process could be facilitated within the span of several weeks. This prompt

 resolution exemplifies the balance that the Plan Administrator seeks through the Motion, and is

 emblematic of the process contemplated for the remainder of the Flagged Accounts.

        9.      The Objector also raises concerns regarding service of the Motion on affected

 customers, apparently because the service information provided to customers was redacted. The

 Plan Administrator respectfully submits that redaction of the information in Schedule 1 of the

 Motion was necessary in light of the requirements under the Bank Secrecy Act, and otherwise

 disagrees with the Objector’s conclusions. The Motion identified that the Wind-Down Debtors

 would serve process on (a) appropriate government authorities and the U.S. Trustee, and (b)

 interested customers identified on Schedule 1. The Motion was served via first-class mail and

 email, as applicable, on each of the parties identified on Schedule 1. As such, recipients of the

 Motion (other than the United States Trustee and the governmental parties) could reasonably

 assume that they are on Schedule 1.

        10.     The Wind-Down Debtors respectfully submit that the relief requested in the Motion

 is appropriate in light of the circumstances and that the Objection should be overruled.



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                                              BACKGROUND

         11.     On September 21, 2023, BlockFi filed the Plan. On October 3, 2023, this Court

 issued its Confirmation Order confirming the Plan. The Plan went effective on October 23, 2024.

 See Docket No. 1788.

         12.     Section 115 of the Confirmation Order clarifies that the Plan and Confirmation

 Order do not, among other things, nullify the applicability of federal law or BlockFi’s compliance

 therewith. See Confirmation Order, § 115(ii).

         13.     On June 28, 2024, the Wind-Down Debtors file the Motion. Contemporaneously

 with the Motion, the Wind-Down Debtors filed the Motion for Authority to Redact and File

 Certain Information Under Seal in Connection with the Wind-Down Debtors’ Motion to Approve

 KYC/AML Protocols for US-Based Accounts (the “Seal Motion”) [Docket No. 2350] requesting

 authority to seal the information contained on Schedule 1 to the Motion. Following continued

 review of BlockFi’s books and records, the Wind-Down Debtors determined that Schedule 1 to

 the Motion included certain parties and omitted other parties erroneously,5 and on July 29, 2024,

 the Wind-Down Debtors filed their Supplemental Schedule of KYC/AML Accounts Subject to

 Motion to Approve KYC/AML Protocols for Us-Based Accounts (the “Supplemental Schedule”)

 [Docket No. 2359] attaching a revised Schedule 1 which corrected the errors and included the

 complete list of parties subject to the Motion. The Supplemental Schedule was served via first-

 class mail and email on the parties in revised Schedule 1, including the Objector. See Docket No.

 2363. The Motion and Seal Motion are currently set for hearing on August 27, 2024 at 11:30a.m.




 5
     The Wind-Down Debtors determined that Schedule 1 to the Motion included certain errors caused principally by
     data aggregation and disparate record keeping practices.

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 ET, and the deadline to file and serve objections thereto was August 20, 2024. See Docket No.

 2360.

         14.     On August 20, 2024, the Objector filed his Objection, containing two arguments.

 First, the Objection argues that notice of the Motion is deficient because Schedule 1 is redacted.

 See Objection, ¶¶ 32-34. Second, the Objection Argues that the Wind-Down Debtors’ failure to

 make distributions for the reasons given in the Motion violates the Plan, is not permitted under the

 Bank Secrecy Act, and violates due process. See Objection ¶¶ 35-60.

         15.     In connection with the Objection, the Plan Administrator expedited review of

 BlockFi’s records concerning the Objector’s account. BlockFi’s records indicate that on May 19,

 2022, Chainalysis issued a flag for indirect exposure to gambling in connection with a transfer of

 76.77 LTC (valued at $5,112.85 at the time of the transfer; somewhat less as of the Petition Date)

 (the “Subject Funds”) into the Objector’s account with BlockFi. BlockFi’s records trace the

 Subject Funds back through a series of intermediary wallets to an originating source, an internet

 gambling website that forbids use by U.S. residents.6

         16.     In other words: industry-standard KYC/AML compliance software employed by

 BlockFi traces crypto transfers across blockchains, which are publicly accessible. The software

 shows that 76.77 LTC originated from an internet gambling site not permitted to do business with

 U.S. customers on May 19, 2022. Over a very short time, that 76.77 LTC was transferred from

 one crypto wallet to another several times, until finally it was deposited in the Objector’s BlockFi

 account. The odds of this exact amount of LTC being transferred accidentally or coincidentally,

 in such exact amount in rapid succession to unrelated persons, are remote. The only reasonable


 6
     The Wind-Down Debtors take no position as to the conduct of the Objector in connection with any gambling
     activities. The purpose of the inquiry and exercise described herein is solely to determine the Wind-Down
     Debtors’ obligations in respect of funds received, as they pertain solely to the Wind-Down Debtors and their
     personnel and professionals.

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     conclusion BlockFi could make with the information it possesses is that the Objector, a U.S.

     resident, was not permitted to engage in the relevant gambling activities, but after doing so, moved

     the 76.77 LTC in proceeds through several wallets so as to obscure its origin before depositing it

     with BlockFi.

            17.      As explained below, the UIGEA restricts BlockFi from accepting deposits that are

     suspected proceeds from unlawful internet gambling, and otherwise regulates transactions in

     connection with suspected unlawful internet gambling activities.            Blockchain technology,

     however, does not permit BlockFi to accept or reject deposits at the time of transfer (i.e., crypto is

     simply transferred); moreover, the diligence process described herein is sufficiently time-

     consuming as to require after-the-fact review.        Accordingly, as described below, BlockFi

     determined following receipt of the deposit that engaging in further transactions with respect to

     this 76.77 LTC might violate the UIGEA.

                                                 RESPONSE

I.          The Objector’s Objection Illustrates
            The Need For The Process Set Forth In The Motion.

            18.      The Objection highlights the importance of the relief requested in the Motion. The

     protocols set forth in the Motion strike the necessary balance between compliance with federal

     law, maintenance of due process, and maximizing distributions. The Objection and Cross-Motion,

     meanwhile, are singularly focused on full, immediate payment. The Objector appears not to have

     considered the Plan Administrator’s obligations under the full panoply of applicable federal law,

     and effectively objects to the freezing of his assets for cause (an issue the Plan Administrator seeks

     to resolve via the Protocols suggested in the Motion), more than the process proposed via the

     Motion.




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         A.      The Protocols Set Forth In The Motion
                 Allow The Plan Administrator To Make Distributions
                 Where Legally Permitted, Without Violating Applicable Law.

         19.     The purpose of the Motion and Protocols sought to be approved is to provide the

 Plan Administrator flexibility to investigate potential legal compliance issues and provide parties

 an opportunity to be heard before the Wind-Down Debtors engage in any further transactions

 implicating their obligations under various KYC and AML regulations. The factual circumstances

 of the Objector’s claim provide an opportunity to examine the process proposed and its utility to

 the parties.

         20.     As noted above, BlockFi’s industry-standard compliance software flagged a deposit

 from the Objector, and the Plan Administrator conducted a factual investigation of the Objector’s

 Flagged Account pursuant to the process set forth in the Motion. BlockFi’s records indicate that

 the Subject Funds originated from a gambling website that the Objector was not permitted to

 transact with, and that the Objector attempted to conceal the source of funds prior to depositing

 with BlockFi.

         21.     Section 5363 of the UIGEA provides in relevant part:

         No person engaged in the business of betting or wagering may knowingly accept,
         in connection with the participation of another person in unlawful Internet
         gambling—

         (1) credit, or the proceeds of credit, extended to or on behalf of such other person
         (including credit extended through the use of a credit card);

         (2) an electronic fund transfer, or funds transmitted by or through a money
         transmitting business, or the proceeds of an electronic fund transfer or money
         transmitting service, from or on behalf of such other person;

         (3) any check, draft, or similar instrument which is drawn by or on behalf of such
         other person and is drawn on or payable at or through any financial institution; or

         (4) the proceeds of any other form of financial transaction, as the Secretary and the
         Board of Governors of the Federal Reserve System may jointly prescribe by


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        regulation, which involves a financial institution as a payor or financial
        intermediary on behalf of or for the benefit of such other person.

        22.     BlockFi’s conduct with respect to such “restricted transactions” may be subject to

 “policies and procedures” that require any “designated payment system” to both “identify” and

 “block restricted transactions.” See 31 U.S.C. § 5364. A “designated payment system” under §

 5362(3), is defined at 12 C.F.R. § 233.3 to include, among others, money transmitting systems

 that, like BlockFi “Permit customers to initiate transmissions of funds transactions remotely from

 a location other than a physical office of the money transmitting business.”

        23.     In sum, the Wind-Down Debtors interpret the foregoing provisions to mean

 BlockFi is subject to the UIGEA and has an obligation to identify and block transactions

 originating with unlawful internet gambling. The Wind-Down Debtors acknowledge, however,

 that the statute appears insufficiently tailored to the cryptocurrency context, that there is a paucity

 of case law or other guidance on the subject of its compliance obligations, and that its factual

 knowledge concerning the Objector’s transaction history and fund sourcing is incomplete.

 Moreover, the Wind-Down Debtors do not believe the UIGEA requires them to freeze any funds

 deposited by the Objector other than the Subject Funds.

        24.     Based on the foregoing, were the Motion to be approved, the Plan Administrator

 would expect to issue a Freeze Notice concerning the Subject Funds, and distribute the remaining

 funds due the Objector. Following receipt of the Freeze Notice, the Objector could respond as set

 forth in the Protocols (in a sense renewing his Cross-Motion), and the Plan Administrator would

 comply with discovery and otherwise provide requested information to the extent legally




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 permitted, reserving all rights to refuse to provide documents or to redact documents as required

 by applicable law.7

         25.      This process is not unique or specific to the Objector’s account.                   The Plan

 Administrator proposes to follow, broadly speaking, the same process for any other affected

 claimant.

         B.       The Objector Misunderstands the Plan and Federal Law.

         26.      In seeking return of his deposited assets, the Objector evidences insufficient

 understanding of the breadth of the Plan Administrator’s obligations and the flexibility (or lack

 thereof) afforded by the Plan.

         27.      As set forth above, the Plan Administrator believes the Wind-Down Debtors (and

 by extension their officers and professionals, etc.) are subject to the strictures of the UIGEA,

 among other relevant KYC/AML regulations. Accordingly, immediate distribution could violate

 the UIGEA. The Plan Administrator regards the risk inherent to such action – i.e., penalties that

 might be imposed on the Wind-Down Debtors and/or responsible persons – as unacceptable to

 both the Wind-Down Debtors as well as their former customers and their current officers,

 employees, and professionals.

         28.      Moreover, the Objector is simply incorrect that the Plan or Confirmation Order

 permit, much less require, immediate distribution. The Plan simply does not require the Plan

 Administrator to make distributions by any particular date (though the Plan Administrator is, again,

 attempting to make distributions as swiftly as possible for all concerned). Moreover, paragraph




 7
     For example, the Bank Secrecy Act prohibits the disclosure of whether a SAR was or was not filed. See 12 CFR
     § 21.11(k) (“A SAR, and any information that would reveal the existence of a SAR, are confidential, and shall
     not be disclosed except as authorized in this paragraph (k)”).

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       115 of the Confirmation Order which makes clear that federal (including criminal) law and

       regulation apply to the Wind-Down Debtors post-confirmation. See Confirmation Order, § 115(ii).

              29.     For the avoidance of doubt: the Plan Administrator will, of course, follow an order

       of this Court in respect of any required distributions. The Plan Administrator will not, however,

       interpret an order of this Court to approve or require sub silencio an action that would otherwise

       seem to violate federal law.

 II.          The Motion Does Not Turn Due Process On Its Head.

              30.     The Objector asserts that the Motion violates creditors’ rights and turns due process

       on its head. The Wind-Down Debtors disagree.

              31.     The Motion sets forth a process whereby Flagged Account holders will (i) receive

       notice of a determination as to the status of their account, and (ii) be given a full and fair

       opportunity for relief. As discussed above, the Wind-Down Debtors will provide information and

       discovery (where permissible) and will comply in full with any order issued by this Court.

              32.     Due process considerations were of utmost importance in creating the process.

       These considerations must be balanced against the Plan Administrator’s ability to comply with

       applicable law. Indeed, the Plan Administrator respectfully submits that the Motion seeks in part

       and in effect a determination of what due process is under these circumstances, and suggests a

       process intended to balance the parties’ various rights and obligations. To the extent the Court

       believes the proposed process is insufficient, the Wind-Down Debtors would welcome an

       opportunity to revise the proposed Protocols.

III.          Service Of The Motion Was Proper.

              33.     The Objector takes issue with the service of the Motion insofar as, he asserts,

       claimants are not on notice that they are affected by the Motion. Again, the Wind-Down Debtors

       disagree.

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        34.     The notice provision of the Motion made clear that Flagged Account holders listed

 on Schedule 1 were interested parties that would receive service of the Motion. Indeed, Flagged

 Account holders were the only recipients other than the United States Trustee and certain

 governmental parties. Each of the parties on the revised Schedule 1 received a copy of the Motion

 via first-class mail and email where such information was available. See Docket No. 2363.

        35.     The Objector appears to raise a concern that the Wind-Down Debtors redacted the

 Schedule. The Wind-Down Debtors did so out of an abundance of caution given the requirements

 of the Bank Secrecy Act, among other applicable laws. The redaction of the Schedule, however,

 should not have prevented any service recipient from understanding that they were an interested

 party for the reasons set forth in the Motion.

        36.     Regardless, the Wind-Down Debtors have no intention of withholding customer

 funds on the basis of notice technicalities. If the Court believes notice of the Motion was in any

 way deficient, the Wind-Down Debtors request permission to cure any such deficiency and would

 be pleased to adjourn consideration of the Motion pending completion of such additional notice

 process.

                                              NOTICE

        37.     The Wind-Down Debtors will provide notice of this Response to the following

 parties and/or their respective counsel, as applicable: (a) the office of the U.S. Trustee for the

 District of New Jersey, (b) the Objector, and (c) other parties requesting notice in these

 proceedings.




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                                          CONCLUSION

        Wherefore, the Wind-Down Debtors respectfully request that the Court (i) overrule the

 Objection, (ii) deny the Cross-Motion, (iii) grant the Motion, and (iv) grant such other relief as is

 just and proper.

                            [Remainder of page intentionally left blank.]




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 Dated: August 23, 2024
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